Case 2: 05- -c\/- 02434- .]DT- -tmp Document 5 Filed 08/17/05 Page 1 of 3 P§§e|D 28

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IN THE UNITED sTATEs DISTRICT CoURT 4000

FOR THE WESTERN DISTRICT OF TENNESSEI§(£ … 4 /°zYJ_ OQ
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M‘“/¢$’Q%?f

RHODNEY ROBERSON, §
ll
Petitioner, §
li

VS. § NO. 05-2434-T/An
il
DAVID l\/HLLS, §
ii
Respondent. ll

 

ORDER DENYING LEAVE TO PROCEED IN FOR]\/IA PA UPER]S
AND
ORDER DIRECTING PETITIONER TO PAY THE HABEAS FILING FEE

 

Petition er Rhodney Roberson, Tennessee Department of Correction prisoner number
210863, an inmate at the West Tennessee State Penitentiary (“WTSP”) in Henning,
Tennessee, filed apro se petition pursuant to 28 U.S.C. § 2254 in the Western Division of
this district on June 15, 2005, along With an application seeking leave to proceed in forma
pauperis District Judge Samuel H. Mays, Jr. issued an order on June 24, 2005 transferring
the petition to the Eastern Division of this district, Where the convicting court is located
The Clerk of Court shall record the respondent as WTSP Warden David Mills.

Based on the information contained in the petitioner’s affidavit, and in his inmate
trust fund account statement, the motion to proceed in forma pauperis is DENIED.

Petitioner is ORDERED to remit the $5.00 habeas filing fee 30 days of the date of entry of

Thts document entered on the docket sheet in comp(l>ianca
with Flule 58 and,'or_?$ {a) FRCP on

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this order. Failure to timely comply With any requirement of this order Will result in

dismissal of the petition Without further notice for failure to prosecute

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IT lS SO ORDERED this f 2 `El?ty of August, 2005.

AQO/WLQ#M

My/S D. TODD
UNITED STATES DISTRICT ]UDGE

UNITED`TATES isCTRiT COURT - WESERN ISTRICT oF'TNi\I'EEssEE

   

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
case 2:05-CV-02434 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Rhodney Roberson

WEST TENNESSEE STATE PENITENTIARY
00210863

480 Green Chapel Road

P.O. Box l 150

Henning, TN 38041--] 15

Honorable J ames Todd
US DISTRICT COURT

